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                              UNITED STATES DISTRICT COURT FOR
                                  THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                                          Case No.: 1:21-cr-00128-RC

                v.


WILLIAM ALEXANDER POPE,

                             Defendant .




          MOTION TO CHANGE ALL ‘HIGHLY SENSITIVE’
          DESIGNATIONS FOR DISCOVERY TO ‘SENSITIVE’



         The government has produced more than 5 million files in the Relativity index, and has

designated many of those files as being ‘highly sensitive.’ The current protective order prevents

me from possessing discovery files designated ‘highly sensitive,’ but the protective order allows

me to challenge the sensitivity designation of any file in the discovery.

         I therefore move the court to change the designation of all files in the Relativity Index

that are currently designated as ‘highly sensitive’ to ‘sensitive’ so that the government can

provide me a physical copy of those files as they agreed to do in ECF No. 104.1

         If the government opposes this motion, I would ask this court to compel the government

to provide individual justifications for every file for which the government opposes a change of

designation from ‘highly sensitive’ to ‘sensitive’ so that I may better understand the



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 This change of sensitivity designations will allow me to work with all files from the Relativity index while still
maintaining a sensitivity designation that is subject to the protective order.
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government’s sensitivity justification for each individual file and be able to challenge the

governments sensitivity justifications as needed.

Respectfully submitted to the court.

                                                      By: William Pope

                                                          /s/

                                                      William Pope
                                                      Pro Se Officer of the Court
                                                      Topeka, Kansas




                                        Certificate of Service
  I certify that a copy of this was filed electronically for all parties of record on May 11, 2023.

                                              /s/
                                 William Alexander Pope, Pro Se
